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10
                             UNITED STATES BANKRUPTCY COURT
11                            CENTRAL DISTRICT OF CALIFORNIA
                                   LOS ANGELES DIVISION
12

13
     In re                                             Case No. 2:22-10994-BB
14
     BETTER 4 YOU BREAKFAST, INC.,                     Chapter 11 Case
15
             Debtor.                                   SUR-REPLY TO COMMITTEE’S REPLY
16                                                     TO PURCHASER’S OBJECTION TO
                                                       MOTION TO COMPEL PERFORMANCE
17
                                                       Hearing:
18                                                     Date: December 7, 2022
                                                       Time: 10:00 a.m.
19                                                     Courtroom: 1539

20                                                     255 East Temple Street
                                                       Los Angeles, CA 90012
21
                                                       Zoom Meeting: 161 6109 0855
22                                                     Zoom Password: 148508

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 1           Revolution Foods, PBC (“Purchaser”) hereby submits this sur-reply (the “Sur-Reply”) in
 2   support of its Objection of Purchaser to Committee’s Motion to Compel Purchaser to Perform
 3   Terms of Asset Purchase Agreement and Pay Its Assumed Trade Payables [Docket No. 622] (the
 4   “Objection”)1 and in response to the Committee’s Motion to Compel Purchaser to Perform Terms
 5   of Asset Purchase Agreement and Pay Its Assumed Trade Payables [Docket No. 613] (the
 6   “Motion”) and the Committee’s Reply to Purchaser’s Objection to Motion to Compel Performance
 7   [Docket No. 633] (the “Reply”), each filed by the Committee of Creditors Holding Unsecured
 8   Claims (the “Committee”), and respectfully states as follows:
 9                                                     SUR-REPLY
10           1.       Purchaser files this Sur-Reply to correct the record on a single key point
11   underpinning the Committee’s Motion: contrary to the Committee’s repeated assertions, the
12   Debtor and its estate are no longer obligated to pay the Assumed Trade Payables. Under the plain
13   terms of the APA, sole responsibility for paying the Assumed Trade Payables transferred from the
14   Debtor’s estate to the Purchaser at closing. See APA § 2.3(e).2 The holders of Assumed Trade
15   Payables are no longer creditors of the Debtor’s estate. The Committee lacks standing to bring the
16   Motion, because the holders of Assumed Trade Payables are not its constituency.
17           2.       The Committee appears to be taking a contrary position.                        In the Reply, the
18   Committee repeatedly refers to the holders of Assumed Trade Payables as unsecured creditors of
19   the Debtor’s estate and asserts that the holders of Assumed Trade Payables are “virtually
20   coextensive with the body of allowed unsecured claims in this Case.” See Reply, pg. 1. While that
21   may have been true prior to closing, it is no longer the case. At closing, responsibility for satisfying
22   Assumed Trade Payables transferred from the Debtor to the Purchaser. The Debtor has satisfied
23   its obligations with respect to Assumed Trade Payables by transferring payment responsibility for
24
     1
         Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Objection.
25   2
         Pursuant to an amendment to the APA dated July 19, 2022, certain holders of trade claims against the Debtor were
         excluded from the definition of Assumed Trade Payables. These excluded claims were not assumed by Purchaser
26       and remain the responsibility of the Debtor’s estate. The Purchaser will not receive any credit toward the purchase
         price for the excluded claims, and is required to satisfy the corresponding portion of the purchase price with cash
27       and equity consideration. The Committee received contemporaneous notice of such amendment. The Purchaser
         does not believe these excluded claims are the subject of the Committee’s Motion but provides this explanatory
28       note for the sake of clarity.

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 1   those claims to Purchaser pursuant to the APA.
 2          3.      In the same vein, the Committee incorrectly asserts that holders of Assumed Trade
 3   Payables “are currently in a grey area” because the Debtor intends to object to their estate claims,
 4   but they are “unsure of their ability to recover from the Purchaser.” See Reply, pg. 3. There is no
 5   grey area. The Purchaser is the sole party responsible for satisfaction of, and the sole source of
 6   recovery for, the Assumed Trade Payables. If the Committee was concerned about the Purchaser’s
 7   ability to satisfy its obligations to holders of Assumed Trade Payables, the proper time to bring that
 8   objection was at the sale hearing.
 9          4.      In sum, the Committee is advocating on behalf of parties that no longer belong to its
10   constituency. The Debtor’s estate is no longer responsible for the Assumed Trade Payables, and
11   the holders of Assumed Trade Payables are no longer creditors of the estate. For that reason,
12   satisfaction of Assumed Trade Payables is irrelevant to the Committee (and to confirmation of the
13   Debtor’s chapter 11 plan).
14          5.      For the reasons set forth herein and in the Purchaser’s Objection, the Committee’s
15   Motion must be denied.
16   DATED: December 2, 2022
17
                                                   MORRISON & FOERSTER LLP
18

19                                                 By:
                                                           Nancy R. Thomas
20                                                         Benjamin W. Butterfield
                                                           Attorneys for Revolution Foods, PBC
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                                                                      SUR-REPLY TO COMMITTEE'S REPLY TO
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 PURCHASER'S OBJECTION TO MOTION TO COMPEL PERFORMANCE
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________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
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judge will be completed no later than 24 hours after the document is filed.




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I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

12/02/2022         Nancy R. Thomas
 Date                       Printed Name                                                        Signature



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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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           Bankruptcy Court for the Central District of California – Los Angeles Division
                                   Case No. 2:22-bk-10994-BB



         The following is the list of parties who are currently on the list to receive email notice/service
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 Shraddha Bharatia           notices@becket-lee.com
 Mason S Byrd                sbyrd@mckoolsmithhennigan.com; LMorrin@mckoolsmithhennigan.com;
                             storm-byrd-1750@ecf.pacerpro.com
 Michael G D'Alba            mdalba@DanningGill.com; DanningGill@gmail.com;
                             mdalba@ecf.inforuptcy.com
 Eryk R Escobar              eryk.r.escobar@usdoj.gov
 Oscar Estrada               oestrada@ttc.lacounty.gov
 Michael S Greger            mgreger@allenmatkins.com; kpreston@allenmatkins.com
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 Ori Katz                    okatz@sheppardmullin.com; lsegura@sheppardmullin.com
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                             kristina.terlaga@procopio.com; calendaring@procopio.com;
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 David S Kupetz              David.Kupetz@lockelord.com; mylene.ruiz@lockelord.com
 Peter W Lianides            plianides@wghlawyers.com;
                             jmartinez@wghlawyers.com; svillegas@wghlawyers.com
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 Daren R. Brinkman           firm@brinkmanlaw.com
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                             TilemDR69450@notify.bestcase.com
 United States Trustee       ustpregion16.la.ecf@usdoj.gov
 (LA)
 Brett D Watson              bwatson@cozen.com; daynasmith@cozen.com
 Larry D Webb                Webblaw@gmail.com; larry@webblaw.onmicrosoft.com




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A true and correct copy of the foregoing document entitled (specify): __________________________________________
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________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
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I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

12/02/2022         Kim T. Morrissey
 Date                       Printed Name                                                        Signature



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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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 Aetna Life Insurance Company and Affiliated Entities
 c/o Payam Khodadadi, Esq.
 MCGUIREWOODS LLP
 1800 Century Park East, 8th Floor
 Los Angeles, CA 90067

 Argo Partners
 12 West 37th Street, 9th Floor
 New York, NY 10018

 Armory Consulting Co.
 3942 Irvine Blvd., #253
 Suite 1150
 Irvine, CA 92602

 Banner Fruit Company
 Attn: Kevin Sommerfeld
 PO BOX 2971
 South San Francisco, CA 94083

 Pauline McTernan
 Otterbourg, P.C.
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 New York, NY 10169

 Danielle Montero
 Lavi & Ebrahimian, LLP
 8889 W. Olympic Blvd. Ste. 200
 Beverly Hills, CA 90211




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